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9
                      UNITED STATES DISTRICT COURT
10                         DISTRICT OF NEVADA
11
12    Danielle Goldstein,                             Case No.: 2:24-cv-00305
13
                     Plaintiff,                       Stipulation for dismissal of Trans
14                                                    Union LLC with prejudice.
            v.
15
16    Trans Union LLC; Experian
17    Information Solutions, Inc. and Clarity
      Services, Inc.,
18
19                   Defendants.
20
21         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Danielle
22   Goldstein and Trans Union LLC stipulate to dismiss Plaintiff's claims against Trans
23   Union LLC with prejudice.
24   ///
25   ///
     ///
26
     ///
27   ///

     _____________________
     STIPULATION                                -1-
          Case 2:24-cv-00305-GMN-DJA Document 20 Filed 05/31/24 Page 2 of 2




1          Each party will bear its own costs, disbursements, and attorney fees.
2          Dated: May 31, 2024.
3
4
5    FREEDOM LAW FIRM
6
     /s/ George Haines
7    George Haines, Esq.
8    Gerardo Avalos, Esq.
     8985 S. Eastern Ave., Suite 100
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10   Counsel for Plaintiff Danielle Goldstein
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     SKANE MILLS LLP
12
13   /s/ Sarai L. Thornton
     Sarai L. Thornton, Esq.
14   1120 Town Center Drive, Suite 200
15   Las Vegas, Nevada 89144
     Counsel for Trans Union LLC
16
17                                         ORDER
18
                                           IT IS SO ORDERED:
19
20                                         _______________________________
21                                         UNITES STATES DISTRICT JUDGE
22
                                                  May 31, 2024
                                           DATED:_______________________
23
                                           _
24
25
26
27

     _____________________
     STIPULATION                            -2-
